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                    EXHIBIT 9
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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                     Plaintiffs,

   V.                                                Civil Action No.: 3:l 7CV00072

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES ALEX
  FIELDS, JR., VANGUARD AMERICA,
  ANDREW ANGLIN, MOONBASE
  HOLDINGS, LLC, ROBERT "AZZMADOR"
  RAY, NATHAN DAMI GO, ELLIOTT
  KLINE a/k/a ELI MOSELEY, IDENTITY
  EVROP A, MATTHEW HEIMBACH, MATTHEW
  PARROTT a/k/a DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS, LEAGUE
  OF THE SOUTH, JEFF SCHOEP, NATIONAL
  SOCIALIST MOVEMENT, NATIONALIST
  FRONT, AUGUSTUS SOL INVICTUS,
  FRATERNAL ORDER OF THE ALT-KNIGHTS,
  MICHAEL "ENOCH" PEINOVICH, LOYAL
  WHITE KNIGHTS OF THE KU KLUX KLAN,
  and EAST COAST KNIGHTS OF THE KU KLUX
  KLAN a/k/a EAST COAST KNIGHTS OF THE
  TRUE INVISIBLE EMPIRE,

                     Defendants.

           DEFENDANT'S FIELDS' RESPONSE TO PLAINTIFFS' FIRST SET OF
                          REQUEST FOR ADMISSIONS


        COMES NOW Defendant JAMES ALEX FIELDS, JR. ("Fields"), by counsel, and for his


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   Responses to Plaintiffs' First Set of Requests for Admission, states as follows:

   1.      Admit that, on August 11, 2017, you departed Ohio to travel to Virginia, Driving a Dodge

   Challenger.

   RESPONSE: Admitted.

   2.      Admit that you arrived in Charlottesville, Virginia in the early morning of August 12, 2017.

   RESPONSE: Admitted.

   3.      Admit that, on August 12, 2017, you attended the United the Right rally in Charlottesville,

   Virginia.

   RESPONSE: Admitted.

   4.      Admit that, on the morning of August 12, 2017, you arrived in and around the immediate

   vicinity of Emancipation Park in Charlottesville, Virginia.

   RESPONSE: Admitted.

   5.     Admit that, at the Unite the Right rally on August 12,20176, you engaged in chants promoting

   or expressing white-supremacist and other racist and anti-Semitic views.

  RESPONSE: Admitted.

  6.      Admit that, during the Unite the Right rally in Charlottesville, Virginia on August 12, 2017,

  you held a shield that displaced a symbol of Vanguard America.

  RESPONSE: Admitted.

  7.      Admit that, during the Unite the Right rally in Charlottesville, Virginia on August 12, 2017,

  you wore a white polo shirt.

  RESPONSE: Admitted.

  8.      Admit that, during the United the Right rally in Charlottesville, Virginia on August 12,2017,


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   you wore khaki pants.

   RESPONSE: Admitted.

   9.      Admit that, prior to August 12, 2027, you knew the uniform of Vanguard America was a

   white polo shirt and khaki pants.

   RESPONSE: Admitted.

   10.    Admit that, during the Unite the Right rally in Charlottesville, Virginia on August 12, 2017,

   you knew the unifonn of Vanguard America was white polo shirt and khaki pants.

   RESPONSE: Admitted.

   11.    Admit that, during the Unite the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with members of Vanguard America.

  RESPONSE: Admitted that Fields participated in the rally and members ofVanguard America also

  participated in the rally.

   12.    Admit that, during the Unite the Right rally in Charlottesville, Virginia, on August 12,2017,

  you participated in the rally with members ofldentity Evropa.

  RESPONSE: Admitted that Fields participated in the rally and members of Identity Evropa also

  participated in the rally.

  13.     Admit that, during the Unite the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with members of the Nationalist Front.

  RESPONSE: Admitted that Fields participated in the rally and members of Nationalist Front also

  participated in the rally.

  14.     Admit that, during the Unite the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with members of the Traditionalist Workers Party.


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   RESPONSE: Admitted that Fields participated in the rally and members of the Traditionalist

   Workers Party also participated in the rally

   15.     Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12,2017,

   you participated in the rally with members of the League of the South.

   RESPONSE: Admitted that Fields participated in the rally and members of League of the South also

   participated in the rally.

   16.     Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with members of the Fraternal Order of the Alt-Knights.

  RESPONSE: Admitted that Fields participated in the rally and members of Fraternal Order of the

  Alt-Knights may have participated in the rally.

   17.     Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12,2017,

  you participated in the rally with members of the Loyal White Knights of the Ku Klux Klan.

  RESPONSE: Admitted that Fields participated in the rally and members of the Loyal White Knights

  of the Ku Klux Klan also participated in the rally.

  18.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12,2017,

  you participated in the rally with members of the East Coast Knights of the Ku Klux Klan a/k/a East

  Coast Knights of the True Invisible Empire.

  RESPONSE: Admitted that Fields participated in the rally and members of the East Coast Knights

  of the Ku Klux Klan a/k/a East Coast Knights of the True Invisible Empire also participated in the

  rally.

  19.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12,2017,

  you participated in the rally with Jason Kessler.


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   RESPONSE: Admitted that Fields participated in the rally and Jason Kessler also participated in the

   rally.

   20.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

   you participated in the rally with Richard Spencer.

   RESPONSE: Admitted that Fields participated in the rally and Richard Spencer also participated in

  the rally.

  21.       Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Christopher Cantwell.

  RESPONSE: Admitted that Fields participated in the rally and Christopher Cantwell also

  participated in the rally.

  22.       Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Andrew Anglin.

  RESPONSE: Admitted that Fields participated in the rally and Andrew Anglin also participated in

  the rally.

  23.       Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Robert "Azzmador" Ray.

  RESPONSE. Admitted that Fields participated in the rally and Robert "Azzmador" Ray also

  participated in the rally.

  24.       Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Nathan Damigo.

  RESPONSE: Admitted that Fields participated in the rally and Nathan Damigo also participated in

  the rally.


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   25.     Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

   you participated in the rally with Elliot Kline a/k/a Eli Mosely.

  RESPONSE: Admitted that Fields participated in the rally and Elliot Kline a/k/a Eli Mosely also

  participated in the rally

  26.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Matthew Heimbach.

  RESPONSE: Admitted that Fields participated in the rally and Matthew Heimbach also participated

  in the rally

  27.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Matthew Parrott a/k/a David Matthew Parrott.

  RESPONSE: Admitted that Fields participated in the rally and Matthew Parrott a/k/a David

  Matthew Parrott also participated in the rally.

  28.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Michael Hill.

  RESPONSE: Admitted that Fields participated in the rally and Michael Hill also participated in the

  rally.

  29.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Michael Tubbs.

  RESPONSE: Admitted that Fields participated in the rally and Michael Tubbs also participated in

  the rally.

  30.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with JeffSchoep.


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   RESPONSE: Admitted that Fields participated in the rally and Jeff Schoep also participated in the

   rally.

   31.      Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

   you participated in the rally with Augustus Sol Invictus.

   RESPONSE: Admitted that Fields participated in the rally and upon information and belief

  Augustus Sol Invictus also participated in the rally.

  32.       Admit that, during the Unity the Right rally in Charlottesville, Virginia on August 12, 2017,

  you participated in the rally with Michael "Enock" Peinovich.

  RESPONSE: Admitted that Fields participated in the rally and Michael Peinovich may have

  participated in the rally

  33.       Admit that, as of August 12, 2017, you owned a 2010 Dodge Challenger with Ohio license

  plate GVF 1111.

  RESPONSE: Admitted.

  34.       Admit that, on August 12, 2017, the windows of your Doge Challenger were tinted.

  RESPONSE: Admitted.

  35.       Admit that, on August 12,2017, you were the only person to drive your Dodge Challenger.

  RESPONSE: Admitted.

  36.       Admit that, on August 12, 2017, you were the only person to drive your Dodge Challenger

  prior to your arrest.

  RESPONSE: Admitted.

  37.       Admit that, on August 12, 2017, you drove your Dodge Challenger onto Fourth Street in

  Charlottesville, Virginia.


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   RESPONSE: Admitted.

   38.    Admit that, on August 12, 2017, you slowly proceeded in your Dodge Challenger down

  Fourth Street toward a crowd of pedestrians located at the intersection of Fourth Street and East Water

  Street, and observed the crowd while idling in your vehicle.

  RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

  against self-incrimination.

  39.     Admit that, on August 12, 2017, after observing the crowd of pedestrians at the Fourth Street

  and East Water Street, you slowly reversed your Dodge Challenger back up Fourth Street toward the

  top of the hill, near the intersection of Fourth Street and East Market Street.

  RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

  against self-incrimination.

  40.     Admit that, on August 12, 2017, you rapidly accelerated your Dodge Challenger down Fourth

  Street towards the intersection of Fourth Street and East Water Street, running through a stop sign and

  across a raised pedestrian mall, and drove directly into a crowd of pedestrians.

  RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

  against self-incrimination.

  41.     Admit that, on August 12, 2017, after you hit a crowd of pedestrians with your Dodge

  Challenger, you struck a stopped vehicle near the intersection of Fourth Street and East Water Street.

  RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

  against self-incrimination.

  42.    Admit that, on August 12, 2017, after striking another vehicle with your Dodge Challenger,

  you rapidly reversed your car and fled the scene.


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   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   43.     Admit that, on August 12, 2017, you drove into a crowd of pedestrians because of the actual

   or perceived race, color, religion, and/or national original of individuals in the crown.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   44.     Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards a

   group of pedestrians in Charlottesville, Virginia.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   45.     Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards

   Elizabeth Sines.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   46.    Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards

   Marissa Blair.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   47.    Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards

   April Muniz.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.


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   48.     Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards

   Marcus Martin.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   49.     Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards

   Natalie Romero.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   50.     Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards

   Chelsea Alvarado.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   51.     Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger towards

   Thomas Baker.

   RESPONSE: Fields asserts and relies upon his 5u, Amendment Right of the US Constitution

   against self-incrimination.

   52.     Admit that, on August 12, 2017, you intentionally drove your Dodge Challenger into a group

   of pedestrians in Charlottesville, Virginia.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   53.     Admit that, on August 12, 2017, you struck a group of pedestrians with your Dodge

   Challenger.


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   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   54.     Admit that, on August 12, 2017, you struck Elizabeth Sines with your Dodge Challenger.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   55.     Admit that, on August 12, 2017, you struck Marissa Blair with your Dodge Challenger.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   56.     Admit that, on August 12, 201 7, you struck April Muniz with your Dodge Challenger.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   57.     Admit that, on August 12, 2017, you struck Marcus Martin with your Dodge Challenger.

   RESPONSE: Fields asserts and relies upon his 5tl, Amendment Right of the US Constitution

   against self-incrimination.

   58.    Admit that, on August 12, 2017, you struck Natalie Romero with your Dodge Challenger.

   RESPONSE: Fields asserts and relies upon his 5"' Amendment Right of the US Constitution

   against self-incrimination.

   59.    Admit that, on August 12, 2017, you struck Chelsea Alvarado with your Dodge Challenger.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   60.    Admit that, on August 12, 2017, you struck Thomas Baker with your Dodge Challenger.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution


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   against self-incrimination.

   61.     Admit that, on August 12, 2017, you caused injury to pedestrians in Charlottesville, Virginia.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   62.     Admit that, on August 12, 2017, you caused injury to Elizabeth Sines.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   63.     Admit that, on August 12, 2017, you caused injury to Marissa Blair.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   64.     Admit that, on August 12, 2017, you caused injury to April Muniz.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   65.    Admit that, on August 12, 2017, you caused injury to Marcus Martin.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   66.    Admit that, on August 12, 2017, you caused injury to Natalie Romero.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   67.    Admit that, on August 12, 2017, you caused injury to Chelsea Alvarado.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.


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   68.     Admit that, on August 12, 20 I 7, you caused injury to Thomas Baker.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   69.     Admit that, on August 12, 2017, you were not in reasonable apprehension of death or great

   bodily harm.

   RESPONSE: Fields asserts and relies upon his 5°1 Amendment Right of the US Constitution

   against self-incrimination.

   70.     Admit that, on August 12, 2017, you did not retreat from a threat of death or great bodily harm

   and announce your desire for peace.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   71.     Admit that you striking a crowd of pedestrians with your Dodge Challenger was not a

   reasonably apparent necessity to preserve your life or save yourself from great bodily harm.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   72.    Admit that you were arrested on August 12, 2017 in Charlottesville, Virginia.

   RESPONSE: Admitted.

   73.    Admit that you pied guilty to twenty-nine (29) counts of violating 18 U.S.C. § 249(a)(l).

   RESPONSE: Admitted.

   74.    Admit that you pied guilty to twenty-nine (29) counts of violating 18 U.S.C. § 249(a)(l)

   because you are, in fact, guilty of what was charged in those counts.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution


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   against self-incrimination.

   75.     Admit that you have expressed and promoted your view that white people are superior to other

   races and peoples.

   RESPONSE: Admitted.

   76.     Admit that you have expressed support of the social and racial policies of Adolf Hitler and

   Nazi-era Germany, including the Holocaust.

   RESPONSE: Admitted.

   77.     Admit that you have espoused violence against Afiican Americans.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   78.     Admit that you have espoused violence against Jewish people.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   79.    Admit that you have espoused violence against members of racial, ethnic, and religious groups

   that you perceived to be non-white.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   80.    Admit that you have used the term "kike."

   RESPONSE: Admitted.

   81.    Admit that you have used the term "kike" to refer to Jewish people.

   RESPONSE: Admitted.

   82.    Admit that you have used the term "filthy kike."
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   RESPONSE: Admitted.

   83.     Admit that you have used the term "filthy kike" to refer to Jewish people.

   RESPONSE: Admitted.

   84.     Admit that you have used the term "nigger."

   RESPONSE: Admitted.

   85.     Admit that you have used the tenn "nigger" to refer to black people.

   RESPONSE: Admitted.

   86.     Admit that you have used the term "spic."

   RESPONSE: Admitted.

   87.     Admit that you have used the tenn "spic" to refer to Hispanic people.

   RESPONSE: Admitted.

   88.     Admit that you have used the term "race traitors."

   RESPONSE: Admitted.

   89.     Admit that you have used the term "race traitors" to refer to white people who do not hold

   your views regarding race.

   RESPONSE: Admitted.

   90.    Admit that you have used the tenn "race traitors" to refer to counter-protesters at the Unite

   the Right rally that took place on August 12, 2017 in Charlottesville, Virginia.

   RESPONSE: Admitted.

   91.    Admit that you have used the term "anti-white liberal."

   RESPONSE: Admitted.

   92.    Admit that you have used the term "anti-white liberal" to refer to individuals who do not hold


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   your views regarding race.

   RESPONSE: Admitted.

   93.        Admit that you have used the term "anti-white liberal" to refer to counter-protesters at the

   Unite the Right rally that took place on August 12, 2017 in Charlottesville, Virginia.

   RESPONSE: Admitted.

   94.     Admit that you have used the term "communists" to refer to counter-protesters at the Unite

   the Right rally that took placed on August 12, 2017 in Charlottesville, Virginia.

   RESPONSE: Admitted.

   95.     Admit that you sent a communication on Twitter stating: "There's enough difference between

   Europeans and Africans to be a different sub-species."

   RESPONSE: Admitted.

   96.     Admit that you sent a communication on Twitter stating: "Human beings in general are

   animals. Europeans are superior sub species. You should take a course on evolution sometime,

   nigger."

   RESPONSE: Admitted.

   97.     Admit that you sent a communication on Twitter stating: "Black, negro, someone of mostly

   African descent. They aren't European. Filthy Degenerate."

   RESPONSE: Admitted.

   98.     Admit that you sent a communication on Twitter stating: "Blacks make up only 12 percent

   of the population yet commit over 50 percent of violent crimes. The average black has an IQ of 65

   to 75, the range of a retard."

   RESPONSE: Admitted.


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   99.        Admit that you sent a communication on Twitter stating: "The White Race build modem

   civilization. Looking at all we've accomplished, no other Race can even compete. #HitlerWasRight."

   RESPONSE: Admitted.

   100.     Admit that you sent a communication on Twitter stating: "I wonder if the masses will ever

   wake up. I have a hard time not hating them for their ignorance. #HitlerWasRight."

   RESPONSE: Admitted.

   IO I.    Admit that you sent a communication on Twitter stating: "We as people need to reclaim

   Leadership of our Nation, and cast off the shackles of the Jew."

   RESPONSE: Admitted.

   I 02.    Admit that you sent a communication on Instagram stating: "No, you get out. You filthy

   nigger."

   RESPONSE: Admitted.

   I 03.    Admit that you sent a cmmnunication on Instagram stating: "Soon you filthy apes will be

   sent back to the jungle."

   RESPONSE: Admitted.

   I 04.    Admit that you sent a communication on Instagram stating: You filthy nigger. Know your

   place, you simple can't compete with the White Man."

   RESPONSE: Admitted.

   105.     Admit that you sent a communication on Instagram stating: "Silence nigger, know your

  place."

  RESPONSE: Admitted.

   106.     Admit that you sent a conununication on Instagram stating: "Heil Hitler. We must secure the


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   existence of our people, & a future for White Children."

   RESPONSE: Admitted.

   107.    Admit that you sent a communication on Facebook stating: "multi-culturalism destroys all

   cultures."

   RESPONSE: Admitted.

   I 08.   Admit that you sent a communication on Facebook stating: "the middle east is full of savages

   that need oppression."

   RESPONSE: Admitted.

   109.    Admit that you sent a communication on Facebook stating:          "non-Europeans are just

   mooching off our people success."

   RESPONSE: Admitted.

   110.    Admit that you sent a c01mnunication on Facebook stating: "White Genocide is all too real."

   RESPONSE: Admitted.

   111.    Admit that you sent a connnunication on Facebook stating: "The U.S. at is core is European,

   and it needs to remain such."

  RESPONSE: Admitted.

   112.    Admit that you sent a communication on Facebook stating: "I hate liberals.:

  RESPONSE: Admitted.

   113.    Admit that you sent a communication on Facebook stating: "It will rise again, the National

  Front will win."

  RESPONSE: Admitted.

  114.     Admit that you sent a communication on Facebook stating: "Fascism will solve the majority


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   of the problems the world is currently facing."

   RESPONSE: Admitted.

   115.    Admit that you sent a communication on Facebook stating: "You're probably a filthy kike."

   RESPONSE: Admitted.

   116.    Adml! that, as of August 12, 2017, you held a specific, class-based, invidiously discriminatory

   animus towards individuals who are non-white.

   RESPONSE: Denied.

   117.    Admit that, as of August 12, 2017, you held a specific, class-based, invidiously discriminatory

   animus towards individuals who are Jewish.

   RESPONSE: Denied.

   118.   Admit that, as of August 12, 2017, you held a specific, class-based, invidiously discriminatory

   animus towards individuals who are politically liberal.

   RESPONSE: Denied.

   119.   Admit that, as of August 12, 2017, you held a specific, class-based, invidiously discriminatory

   animus towards individuals who are communists.

   RESPONSE: Denied.

   120.   Admit that, as of August 12, 2017, you held animosity towards non-white individuals.

   RESPONSE: Denied.

   121.   Admit that, as of August 12, 2017, you held animosity towards Jewish individuals.

   RESPONSE: Denied.

   122.   Admit that when you hit pedestrians with your Dodge Challenger on August 12, 2017, you

   were motivated by animosity towards non-white individuals.


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   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   123:     Admit that when you hit pedestrians with your Dodge Challenger on August 12, 2017, you

   were motivated by animosity towards Jewish individuals.

   RESPONSE: Fields asserts and relies upon his 5tl, Amendment Right of the US Constitution

   against self-incrimination.

   124.     Admit that, as of or prior to August 12, 2017, you were a member of Vanguard America.

   RESPONSE: Denied.

   125.     Admit that, as of or prior to August 12, 2017, you were a member of Identity Evropa.

   RESPONSE: Denied.

   126.     Admit that, as of or prior to August 12, 2017, you were a member of the Nationalist Front.

   RESPONSE: Denied.

   127.     Admit that, as of or prior to August 12, 2017, you were a member of Traditionalist Workers

   Party.

   RESPONSE: Denied.

   128.     Admit that, as of or prior to August 12, 2017, you were a member of League of the South.

   RESPONSE: Denied.

   129.     Admit that, as of or prior to August 12, 2017, you were a member of Fraternal Order of the

   Alt-Knights.

   RESPONSE: Denied.

   130.     Admit that, as of or prior to August 12, 2017, you were a member of the Loyal White Knights

   of the Ku Klux Klan.


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   RESPONSE: Denied.

    131.   Admit that, as of or prior to August 12, 2017, you were a member of the East Coast Knights

   of the Ku Klux Kan a/k/a East Coast Knights of the True Invisible Empire.

   RESPONSE: Denied.

   132.    Admit that you were aware that violence was planned against counter-protesters at the Unite

   the Right rally that took place on August 12, 2017 in Charlottesville, Virginia

   RESPONSE: Denied.

   133.    Admit that you planned to commit violence at the Unite the Right rally that took place on

   August 12, 201 7 in Charlottesville, Virginia.

   RESPONSE: Denied.

   134.    Admit that you agreed with Vanguard America to commit violence at the Unite the Right rally

   that took place on August 12, 2017 in Charlottesville, Virginia.

   RESPONSE: Denied.

   135.    Admit that you agreed with the other defendants in this lawsuit to commit violence at the

   Unite the Right Rally that took place on August 12, 2017 in Charlottesville, Virginia.

   RESPONSE: Denied.

   136.    Admit that you committed violence at the Unite the Right rally that took place on August 12,

   2017 in Charlottesville, Virginia.

   RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

   against self-incrimination.

   13 7.   Admit that you could have prevented yourself from committing violence at the Unite the Right

   rally that took place on August 12, 2017 in Charlottesville, Virginia.


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    RESPONSE: Fields asserts and relies upon his 5th Amendment Right of the US Constitution

    against self-incrimination.

    138.   Admit that, prior to August 13, 2017, you viewed posts on the Discord server named

   "Charlottesville 2.0."

   RESPONSE: Denied.

    139.   Admit that, prior to August 13, 2017, you posted on the Discord server named "Charlottesville

   2.0."

   RESPONSE: Denied.

   140.    Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you "liked"

   Twitter posts about the Unite the Right rally.

   RESPONSE: Admitted.

   141.    Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you "re-

   tweeted" Twitter posts about the Unite the Right rally.

   RESPONSE: Admitted.

   142.    Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you

   communicated on Twitter about the Unite the Right rally.

   RESPONSE: Admitted.

   143.    Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you

   communicated on Facebook about the Unite the Right rally.

   RESPONSE: Defendant does not recall communicating on Facebook about Unite the Right but

   admits he may have.

   144.    Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you


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   communicated on Instagram about the Unite the Right rally.

   RESPONSE: Admitted.

    145.   Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you

   communicated on Discord about the Unite the Right rally.

   RESPONSE: Denied.

   146.    Admit that you communicated with Richard Spencer about the Unite the Right rally that took

   place on August 12, 2017.

   RESPONSE: Denied.

   147.    Admit that you communicated with members of Vanguard America at the Unite the Right

   rally that took place on August 12, 2017.

   RESPONSE: Admitted.

   148.    Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you

   communicated with members of Vanguard America.

   RESPONSE: Denied.

   149.    Admit that, prior to the Unite the Right rally that took place on August 12, 2017, you

   communicated with at least one defendant about the rally.

   RESPONSE: Defendant admits that he posted a direct message to Richard Spencer and David Duke.

   Neither was returned. Therefore, Defendant admits he attempted to communicate with Mr. Spencer

   and Mr. Duke but was unsuccessful.

   150.    Admit that you received Christmas cards from Vanguard America.

   RESPONSE: Admitted that Fields received Christmas cards from Vanguard America in prison.

   151.    Admit that, after you became aware of this lawsuit, you destroyed Christmas cards you


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   received from Vanguard America without producing them to Plaintiffs.

   RESPONSE: Admitted.

   152.   Admit that the docwnent with Bates Number MUNIZ00003855 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   153.   Admit that the document with Bates Number City_00000188 is a true and accurate depiction

   and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   154.   Admit that the document with Bates Number City_00000224 is a true and accurate depiction

   and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   155.   Admit that the document with Bates Number City_00000227 is a true and accurate depiction

   and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   156.   Admit that the document with Bates Number City_00010946 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on September 30, 2017.

   RESPONSE: Admitted.

   157.   Admit that the document with Bates Number City_00010969 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on October 6, 2017.

   RESPONSE: Admitted.

   158.   Admit that the document with Bates Number City_00010972 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on October 7, 2017.


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   RESPONSE: Admitted.

   159.    Admit that the docwnent with Bates Number City_00011060 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on November 21, 2017.

   RESPONSE: Admitted.

   160.   Admit that the docwnent with Bates Number City_00011061 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on November 22, 2017.

   RESPONSE: Admitted.

   161.   Admit that the document with Bates Number City_00011068 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on November 26, 2017.

   RESPONSE: Admitted.

   162.   Admit that the docwnent with Bates Number City 00011115 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on December 13, 2017.

   RESPONSE: Admitted.

   163.   Admit that the document with Bates Number City_000l 1171 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on December 15, 2017.

   RESPONSE: Admitted.

   164.   Admit that the docwnent with Bates Nwnber City_00011175 is a true and accurate audio-

   recording of a voicemail to you from Jason Kessler on December 16, 2017.

   RESPONSE: Admitted.

   165.   Admit that the docwnent with Bates Number City_000l 1183 is a true and accurate audio-

   recording of a voicemail to you from Jason Kessler on December 18, 2017.

   RESPONSE: Admitted.


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   166.    Admit that the document with Bates Number City_000l 1261 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on February 6, 2019.

   RESPONSE: Admitted.

   167.    Admit that the document with Bates Number City_000l 1387 is a true and accurate audio-

   recording ofa telephone call between you and Samantha Bloom on March 23, 2019.

   RESPONSE: Admitted.

   168.    Admit that the document with Bates Number City_000l 1477 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on July 13, 2019.

   RESPONSE: Admitted.

   169.   Admit that the document with Bates Number City_000I 1544 is a true and accurate audio-

   recording of a telephone call between you and Jason Kessler on January 12, 2018.

   RESPONSE: Admitted.

   170.   Admit that the document with Bates Number City_000l 1557 is a true and accurate audio-

   recording of a voicemail to you from Jason Kessler on July 17, 2018.

   RESPONSE: Admitted.

   171.   Admit that the document with Bates Number City 00011669 is a true and accurate audio-

   recording of a voicemail to you from Jason Kessler on March 3, 2018.

   RESPONSE: Admitted.

   172.   Admit that the document with Bates Number City_000l 1670 is a true and accurate audio-

   recording of a voicemail to you from Jason Kessler on March 3, 2018.

   RESPONSE: Admitted.

   173.   Admit that the document with Bates Number City 00011671 is a true and accurate audio-


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   recording of a voicemail to you from Jason Kessler on March 3, 2018.

   RESPONSE: Admitted.

   174.   Admit that the document with Bates Number City_000l 1722 is a true and accurate audio-

   recording of a voicemail to you from Jason Kessler on March 17, 2018.

   RESPONSE: Admitted.

   175.   Admit that the document with Bates Number City_000l 1766 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on April 3, 2018.

   RESPONSE: Admitted.

   176.   Admit that the document with Bates Number City 00011809 is a true and accurate audio-

   recording of a voicemail to you from Jason Kessler on April 22, 2018.

   RESPONSE: Admitted.

   177.   Admit that the document with Bates Number City_000l 1890 is a true and accurate audio-

   recording ofa telephone call between you and Samantha Bloom on May 30, 2018.

   RESPONSE: Admitted.

   178.   Admit that the document with Bates Number City_00011894 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on June I, 2018.

   RESPONSE: Admitted.

   179.   Admit that the document with Bates Number City_00011914 is a true and accurate audio-

  recording of a telephone call between you and Samantha Bloom on June 7, 2018.

  RESPONSE: Admitted.

   180.   Admit that the document with Bates Number City_000l 1951 is a true and accurate audio-

  recording of a telephone call between you and Samantha Bloom on June 29, 2018.


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   RESPONSE: Admitted.

   181.    Admit that the document with Bates Number City_000l 1952 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on June 30, 2018.

   RESPONSE: Admitted.

   182.    Admit that the document with Bates Number City_00012043 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on August 12,2018.

   RESPONSE: Admitted.

   183.   Admit that the docwnent with Bates Number City_00012220 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on December 2, 2018.

   RESPONSE: Admitted.

   184.   Admit that the document with Bates Number City 00012222 is a true and accurate audio-

   recording of a telephone call between you and Samantha Bloom on December 4, 2018.

   RESPONSE: Admitted.

   185.   Admit that the docwnent beginning with Bates Number City_00019602 is a true and correct

   copy of the date from your Facebook account.

   RESPONSE: Admitted.

   186.   Admit that the document with Bates Number City_00032347 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   187.   Admit that the document with Bates Number City_00032348 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.


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   188.    Admit that the document with Bates Number City_00033054 is a true and accurate depiction

   and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   189.    Admit that the document with Bates Number City_00033055 is a true and accurate depiction

   and representation of your car on Aub'llSt 12, 2017.

   RESPONSE: Admitted.

   190.   Admit that the document with Bates Number City_00033056 is a true and accurate copy of

   an Instagram post you made on May 16, 2017.

   RESPONSE: Admitted.

   191.   Admit that the document with Bates Number City_00033057 is a true and accurate copy of

   an Instagram message you sent on May 12, 2017.

   RESPONSE: Admitted.

   192.   Admit that the document beginning with Bates Number City_000l 9602 is a true and correct

  copy of the date from your mobile telephone.

  RESPONSE: Admitted.

   193.   Admit that the document with Bates Number City_00033077 is a true and accurate excerpt of

  an audio-recording of a telephone call between you and Samantha Bloom on March 21, 2018.

  RESPONSE: Admitted.

  194.    Admit that the document with Bates Number City_00033081 is a true and accurate depiction

  and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  195.    Admit that the document with Bates Number City_00033082 is a true and accurate depiction


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   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   196.    Admit that the document with Bates Number City_00033085 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   197.    Admit that the document with Bates Number City_00033098 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   198.   Admit that the document with Bates Number City_00033099 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   199.   Admit that the document with Bates Number City_00033100 is a true and accurate depiction

   and representation of your car on August 12, 20 I 7.

   RESPONSE: Admitted.

   200.   Admit that the document with Bates Number City_00033101 is a true and accurate excerpt of

   an audio-recording of a telephone call between you and Samantha Bloom on December 7, 2017.

   RESPONSE: Admitted.

   201.   Admit that the document with Bates Number City_00033102 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   202.   Admit that the document with Bates Number City_00033104 is a true and accurate depiction

   and representation of your car on August 12, 2017.


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   RESPONSE: Admitted.

   203.    Admit that the document with Bates Number City_00033105 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   204.    Admit that the docwnent with Bates Nwnber City_00033106 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   205.   Admit that the document with Bates Nwnber City_00033107 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   206.   Admit that the document with Bates Number City_00033108 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   207.   Admit that the docwnent with Bates Number City_00033109 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   208.   Admit that the document with Bates Number City_00033110 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   209.   Admit that the document with Bates Nwnber City_00033112 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.


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   210.    Admit that the document with Bates Number City_00033113 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   211.    Admit that the document with Bates Number City_00033114 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   212.    Admit that the document with Bates Number City_00033115 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   213.    Admit that the document with Bates Number City_00033116 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   214.   Admit that the document with Bates Number City_00033117 is a true and accurate depiction

   and representation of your car on August 12,2017.

   RESPONSE: Admitted.

   215.   Admit that the document with Bates Number City_00033 l 18 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   216.   Admit that the document with Bates Number City_00033119 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   217.   Admit that the document with Bates Number City_00033120 is a true and accurate depiction


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   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   218.    Admit that the document with Bates Number City_00033121 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   219.    Admit that the document with Bates Number City_00033122 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   220.   Admit that the document with Bates Number City_00033123 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   221.   Admit that the document with Bates Number City_00033124 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   222.   Admit that the document with Bates Number City_00033125 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   223.   Admit that the document with Bates Number City_00033126 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   224.   Admit that the document with Bates Number City_00033127 is a true and accurate depiction

   m1d representation of your car on August 12,2017.


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   RESPONSE: Admitted.

   225.    Admit that the document with Bates Number City_00033128 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   226.    Admit that the document with Bates Number City_00033129 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   227.   Admit that the document with Bates Number City_00033130 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   228.   Admit that the document with Bates Number City_00033131 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   229.   Admit that the docwnent with Bates Number City_00033132 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   230.   Admit that the docwnent with Bates Number City_00033133 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   231.   Admit that the docwnent with Bates Number City_00033134 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.


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   232.    Admit that the document with Bates Number City_00033 I 35 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   233.    Admit that the document with Bates Number City_00033136 is a true and accurate depiction

   and representation of your car on August 12,2017.

   RESPONSE: Admitted.

   234.    Admit that the document with Bates Number City_00033137 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   235.    Admit that the document with Bates Number City_00033138 is a true and accurate depiction

   and representation of your car on August 12, 20 I 7.

   RESPONSE: Admitted.

   236.    Admit that the document with Bates Number City_00033 I 39 is a true and accurate depiction

   and representation of your car on August 12, 20 I 7.

   RESPONSE: Admitted.

   237.    Admit that the document with Bates Number City_00033140 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   238.    Admit that the document with Bates Number City_00033141 is a true and accurate depiction

   and representation of your car on August 12, 20 I 7.

   RESPONSE: Admitted.

   239.   Admit that the document with Bates Number City_00033142 is a true and accurate depiction


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   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   240.    Admit that the document with Bates Number City_00033143 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   241.    Admit that the document with Bates Number City_00033144 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   242.   Admit that the document with Bates Number City_00033145 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   243.   Admit that the document with Bates Number City_00033146 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   244.   Admit that the document with Bates Number City_00033147 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   245.   Admit that the docwnent with Bates Number City_00033148 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   246.   Admit that the document with Bates Number City_00033149 is a true and accurate depiction

   and representation of your car on August 12, 2017.


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   RESPONSE: Admitted.

   247.    Admit that the document with Bates Number City_00033150 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   248.    Admit that the document with Bates Number City_00033151 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   249.   Admit that the document with Bates Number City_00033152 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   250.   Admit that the document with Bates Number City_00033153 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   251.   Admit that the docwnent with Bates Number City_00033154 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   252.   Admit that the document with Bates Number City_00033155 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   253.   Admit that the document with Bates Number City_00033156 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.


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   254.    Admit that the document with Bates Number City_00033157 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   255.    Admit that the document with Bates Number City_00033158 is a true and accurate depiction

   and representation of your car on August 12,2017.

   RESPONSE: Admitted.

   256.    Admit that the document with Bates Number City_00033159 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   257.   Admit that the document with Bates Number City_00033160 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   258.   Admit that the docwnent with Bates Number City_00033161 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   259.   Admit that the docwnent with Bates Number City_00033162 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   260.   Admit that the docwnent with Bates Number City_00033163 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   261.   Admit that the docwnent with Bates Number City_00033164 is a true and accurate depiction


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   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   262.    Admit that the document with Bates Number City_00033165 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   263.    Admit that the document with Bates Number City_00033166 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   264.    Admit that the document with Bates Number City_00033167 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   265.   Admit that the document with Bates Number City_00033168 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   266.   Admit that the document with Bates Number City_00033170 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   267.   Admit that the document with Bates Number City_00033171 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   268.   Admit that the document with Bates Number City_00033172 is a true and accurate depiction

   and representation of your car on August 12, 2017.


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   RESPONSE: Admitted.

   269.    Admit that the document with Bates Number City_00033 l 73 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   270.   Admit that the document with Bates Number City_00033177 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   271.   Admit that the document with Bates Number City_00033203 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   272.   Admit that the document with Bates Number City_00033214 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   273.   Admit that the document with Bates Number City_00033216 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   274.   Admit that the document with Bates Number City_00033218 is a true and accurate depiction

  and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  275.    Admit that the document with Bates Number City_00033221 is a true and accurate depiction

  and representation of your car on August 12, 2017.

  RESPONSE: Admitted.


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   276.    Admit that the document with Bates Number City_00033226 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   277.    Admit that the document with Bates Number City_00033230 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   278.    Admit that the document with Bates Number City_00033231 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   279.   Admit that the document with Bates Number City_00033233 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   280.   Admit that the document with Bates Number City_00033237 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

  281.    Admit that the document with Bates Number City_00033239 is a true and accurate depiction

  and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  282.    Admit that the document with Bates Number City_00033244 is a true and accurate depiction

  and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  283.    Admit that the docmnent with Bates Number City_00033257 is a true and accurate depiction


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   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   284.    Admit that the document with Bates Number City_00033265 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   285.    Admit that the document with Bates Number City_00033267 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   286.   Admit that the document with Bates Number City_00033268 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   287.   Admit that the document with Bates Number City_00033270 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   288.   Admit that the document with Bates Number City_00033271 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   289.   Admit that the document with Bates Number City_00033272 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   290.   Admit that the document with Bates Number City_00033273 is a true and accurate depiction

   and representation of your car on August 12, 2017.


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   RESPONSE: Admitted.

   291.    Admit that the document with Bates Number City_00033274 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   292.    Admit that the document with Bates Number City_00033275 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   293.    Admit that the document with Bates Number City_00033276 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   294.   Admit that the docw11ent with Bates Number City_00033277 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   295.   Admit that the document with Bates Number City_00033278 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   296.   Admit that the document with Bates Nwnber City_00033279 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   297.   Admit that the document with Bates Number 318CR1100000112 is a true and accurate

   depiction and representation of you on August 12, 2017.

   RESPONSE: Admitted.


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   298.    Admit that the document with Bates Number 318CR1100000134 is a true and accurate

   depiction and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   299.    Admit that the document with Bates Number JAS_006_1_00000032 is a true and accurate

   depiction and representation of you on August 12,2017.

   RESPONSE: Admitted.

   300.    Admit that the document with Bates Number JAS_006_1_00000066 is a true and accurate

   depiction and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   301.    Admit that the document with Bates Number 3 l 8CR1100000303 is a true and accurate copy

   of an image you posted on your Twitter account.

   RESPONSE: Admitted.

   302.    Admit that the document with Bates Number 318crl 100000322 is a true and accurate copy

   of an image you posted on your Twitter account.

   RESPONSE: Admitted.

   303.   Admit that the document with Bates Number 318crl 100000331 is a true and accurate

   depiction and representation of your bedside table.

   RESPONSE: Admitted.

   304. Admit that the document with Bates Number 3 l 8crl 100000340 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   305.   Admit that the docwnent with Bates Number 318crl 100000348 is a true and accurate


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   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   306.    Admit that the document with Bates Nwnber 31 Scr 1100000349 is a true and accurate

   depiction and representation of your car on August 12,2017.

   RESPONSE: Admitted.

   307.    Admit that the document with Bates Number 318crl 100000350 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   308.    Admit that the docwnent with Bates Number 318crll00000354 is a true and accurate copy

   of an image you posted on your Twitter account.

   RESPONSE: Admitted.

   309.   Admit that the document with Bates Number 318crl 100000355 is a true and accurate copy

   of an image you posted on your Twitter account.

   RESPONSE: Admitted.

   310.   Admit that the document with Bates Number 318crll00000357 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   311.   Admit that the document with Bates Number 318crl 100000358 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   312.   Admit that the document with Bates Nwnber 318crl 100000359 is a true and accurate

   depiction and representation of you on August 12, 2017.


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   RESPONSE: Admitted.

   313.    Admit that the document with Bates Number 318crl 100000367 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   314.    Admit that the document with Bates Number 318crl 100000373 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   315.    Admit that the document with Bates Number 318crl 100000384 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   316.   Admit that the document with Bates Number 318crl 100000392 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   317.   Admit that the document with Bates Number 31Scrl100000393 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   318.   Admit that the document with Bates Number 318crl 100000398 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   319.   Admit that the document with Bates Number 31 Scr 1100000402 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.


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   320.    Admit that the document with Bates Number 318crl 100000407 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   321.    Admit that the document beginning with Bates Number 318crl 100000409 is a true and

   accurate copy of redacted data from your lnstagram account.

   RESPONSE: Admitted.

   322.   Admit that the document with Bates Number 318crl 100000414 is a true and accurate copy

   of an image you posted on your Twitter account.

   RESPONSE: Admitted.

   323.   Admit that the document beginning with Bates Number 318crl 100000424 is a true and

   accurate copy of redacted data from your Twitter account.

   RESPONSE: Admitted.

   324.   Admit that the document beginning with Bates Number 318crl 100000451 is a true and

   accurate copy of redacted data from your Twitter account.

   RESPONSE: Admitted.

   325.   Admit that the document with Bates Number 31 Scrl I 00000657 is a true and accurate excerpt

   of an audio-recording of a telephone call between you and Samantha Bloom on December 7, 2017.

   RESPONSE: Admitted.

   326.   Admit that the document with Bates Number 3 !Scrl 100000856 is a true and accurate excerpt

   ofan audio-recording ofa telephone call between you and Samantha Bloom on August 27, 2018.

   RESPONSE: Admitted.

   327.   Admit that the document with Bates Number 3 I Serl I 00000895 is a true and accurate


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   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   328.    Admit that the document with Bates Number 318crl 100000896 is a true and accurate

   depiction and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   329.    Admit that the document with Bates Number 3l8crl 100001038 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   330.    Admit that the document with Bates Number 318crl 100001039 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   331.    Admit that the document with Bates Number 318crl 100001040 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   332.   Admit that the document with Bates Number 318crl 100001041 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   333.   Admit that the document with Bates Number 318crl 100001042 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   334.   Admit that the document with Bates Number 318crl 100001043 is a true and accurate

   depiction and representation of your car on August 12, 2017.


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   RESPONSE: Admitted.

   335.    Admit that the document with Bates Number 318crll00001044 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   336.    Admit that the document with Bates Nwnber 318crl 100001045 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   337.    Admit that the document with Bates Number KELLY0000000l is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   338.    Admit that the document with Bates Number KELLY0000000S is a true and accurate

   depiction and representation of your car on August 12, 201 7.

   RESPONSE: Admitted.

   339.   Admit that the document with Bates Number KELLY000000l 7 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   340.   Admit that the document with Bates Number BLAIR00000930 is a true and accurate

   depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   341.   Admit that the document with Bates Number City_00033062 is a true and accurate depiction

   and representation of you.

   RESPONSE: Admitted.


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   342.    Admit that the docwnent with Bates Number City_00033073 is a true and accurate depiction

   and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   343.    Admit that the document with Bates Number City_00033074 is a true and accurate depiction

   and representation of you on August 12, 2017.

   RESPONSE: Admitted.

   344.    Admit that the document with Bates Number City_00033280 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   345.    Admit that the docwnent with Bates Nwnber SlNES0000l 175 is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   346.   Admit that the document with Bates Number CHlA000000l is a true and accurate depiction

   and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   347.   Admit that the document with Bates Nwnber NOCUSTODIAN00000003 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   348.   Admit that the document with Bates Number NOCUSTODIAN00000004 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   349.   Admit that the docwnent with Bates Number NOCUSTODIAN00000005 is a true and


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   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   350.    Admit that the document with Bates Number NOCUSTODIAN00044816 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   351.   Admit that the document with Bates Number NOCUSTODIAN00044934 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   352.   Admit that the document with Bates Number NOCUSTODIAN00044836 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   353.   Admit that the document with Bates Number NOCUSTODIAN00044829 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   354.   Admit that the document with Bates Number NOCUSTODIAN00044823 is a true and

  accurate depiction and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  355.    Admit that the document with Bates Number NOCUSTODIAN00044850 is a true and

  accurate depiction and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  356.    Admit that the docwnent with Bates Number NOCUSTODIAN00044843 is a true and

  accurate depiction and representation of your car on August 12,2017.


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   RESPONSE: Admitted.

   357.    Admit that the document with Bates Number NOCUSTODIAN00044810 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   358.    Admit that the document with Bates Number NOCUSTODIAN00044844 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   359.   Admit that the document with Bates Number NOCUSTODIAN0004481 I is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   360.   Admit that the document with Bates Number NOCUSTODIAN00044812 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   361.   Admit that the document with Bates Number NOCUSTODIAN00044813 is a true and

   accurate depiction and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  362.    Admit that the document with Bates Number NOCUSTODIAN00044814 is a true and

  accurate depiction and representation of your car on August 12, 2017.

  RESPONSE: Admitted.

  363.    Admit that the document beginning with Bates Number NOCUSTODIAN00044860 is a

  series of photographs, each of which is a true and accurate depiction and representation of your car

  on August 12, 2017.


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   RESPONSE: Admitted.

   364.   Admit that the document beginning with Bates Number NOCUSTODIAN00044893 is a

   series of photographs, each of which is a true and accurate depiction and representation of your car

   on August 12, 2017.

   RESPONSE: Admitted.

   365.   Admit that the document with Bates Number NOCUSTODIAN00044815 is a true and

   accurate depiction and representation of your car on August 12, 2017.

   RESPONSE: Admitted.

   366.   Admit that the document with Bates Number AERIAL0000000l is a true and accurate

   depiction and representation of your car on August 12,2017.

   RESPONSE: Admitted.

   367.   Admit that you used the name Conscious Ovis Aries on your Facebook account.

   RESPONSE: Admitted.

   368.   Admit that you used the email address jay.fields({illive.com

   RESPONSE: Admitted.

   369.   Admit that you used the email address james.fields.9279('ihfacebook.com

   RESPONSE: Admitted.

   370.   Admit that you used the email address Amerikan-steel(cvoutlook.com.

   RESPONSE: Admitted.

   371.   Admit that you used the email address dersschwarzesonne(agmail.com

   RESPONSE: Admitted.

   372.   Admit that you lived Maumee, Ohio in August 2017.


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   RESPONSE: Admitted.

   373.   Admit that in August 2017, your cell phone numher was 859-414-9660.

   RESPONSE: Admitted.

   374.   Admit that in August 2017, Samantha Bloom's cell phone numher was 859-814-1925.

   RESPONSE: Admitted.

   375.   Admit that you used the usemame "TheRea!GiantDad" for your Twitter account.

   RESPONSE: Admitted.

   376.   Admit that you used the usemame "TheNewGiantDad" for your Twitter account.

   RESPONSE: Admitted.

   377.   Admit that you used the username "thebigbossl337" for your Instagram account.

   RESPONSE: Admitted.

                                                     Respectfully submitted,

                                                     JAMES ALEX FIELDS, JR.
                                                     By Counsel

                                                             /s/ David L. Campbell
                                                     David L. Hauck, Esquire (VSB# 20565)
                                                     David L. Campbell, Esquire (VSB #75960)
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 19th day of August, 2020, I provided copies of the foregoing
   via email to the following:

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                                    16741



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